                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
                Plaintiff,                        )
                                                  )
 v.                                               )   No.: 3:14-CR-115-TAV-HBG
                                                  )
 JOSE MEDINA GARCIA and                           )
 ADALBERTO TORRES,                                )
                                                  )
                Defendants.                       )


                             MEMORANDUM OPINION & ORDER

       This criminal matter is before the Court for consideration of the Report and

 Recommendation entered by United States Magistrate Judge H. Bruce Guyton (“R&R”)

 [Doc. 35]. The R&R addresses defendant Jose Medina Garcia’s motion to suppress

 evidence [Doc. 22], which defendant Adalberto Torres moved to adopt [Doc. 23].

 Magistrate Judge Guyton held a hearing on the motion [Doc. 27].         The defendants

 submitted post-hearing memoranda [Docs. 30, 31]. Magistrate Judge Guyton then issued

 the R&R, recommending that the Court deny the request for suppression [Doc. 35]. Only

 defendant Jose Medina Garcia has filed an objection to the R&R [Doc. 36], and the

 government responded to that objection [Doc. 37]. For the reasons that follow, the Court

 will overrule the defendant’s objections, accept the R&R, and deny the request for

 suppression.




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 I.     Standard of Review

        The Court reviews de novo those portions of the R&R to which the defendant has

 objected.   28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b).            Accordingly, the Court

 considers the motion to suppress, underlying and supporting briefs, government’s

 response, evidence, R&R, and objections, all in light of the applicable law.

 II.    Facts and Procedural History1

        On September 10, 2014, at approximately 3:30 p.m., the defendants were traveling

 east on Interstate 40 at approximately the 386 mile marker in Knox County, Tennessee, in

 a rental minivan with a California license plate. Defendant Torres was driving and

 defendant Garcia was in the front passenger seat.

        Trooper Adam Bowman was also traveling on Interstate 40. He observed the

 minivan activate the right blinker and merge into the right lane of travel. As the minivan

 approached a tractor trailer truck, the minivan braked, activated the left blinker, and

 merged into the center lane of traffic in front of Trooper Bowman.

        As the minivan was traveling behind the tractor trailer truck, Trooper Bowman

 estimated that the minivan was traveling at a speed of sixty-two to sixty-five miles per

 hour. He further estimated that the minivan was within twelve to fifteen feet of the rear

 bumper of the tractor trailer for approximately ten seconds.


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          Magistrate Judge Guyton’s findings of fact [Doc. 35 p. 1–3] are supported by the
 evidence, and the defendant does not expressly object to them. To the extent that any of the
 defendant’s objections implicate a fact found in the R&R, the Court has considered the dispute in
 the context of its analysis of the defendant’s objections.

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         Because Trooper Bowman believed the minivan had been following the tractor

 trailer too closely, he activated his lights and pulled over the minivan to the far right hand

 side of the highway. Trooper Bowman requested identification from both passengers and

 a copy of the rental agreement. Defendant Torres provided an out-of-state suspended

 driver’s license. Defendant Garcia provided a valid Arizona driver’s license. Upon

 discovering defendant Torres’s suspended driver’s license, Trooper Bowman called for

 backup.

         Two state troopers arrived on the scene. Trooper Conaster arrived approximately

 sixteen minutes after the initial stop and Trooper Scott arrived with his K9 partner

 approximately twenty minutes after the initial stop. The troopers then questioned the

 passengers separately, and the passengers provided conflicting stories. The troopers

 requested consent to search the minivan, and both defendants consented. Defendant

 Torres refused the request to search his cellular phone.

         Upon initial search of the minivan, the officers found two small duffle bags, a

 cellular phone, a GPS device, a radar detector, a screwdriver, and a parking pass from

 Chicago, Illinois. Trooper Scott’s K9 partner entered the back of the minivan through an

 open door and alerted on the spare tire compartment. The trooper searched the spare tire

 compartment and found eleven vacuum sealed packages wrapped in plastic and black

 tape.     The substance field tested positive for methamphetamine and weighed

 approximately twelve pounds, or 5.46 kilograms.            The troopers then arrested the

 defendants and gave the defendants the Miranda warnings.

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         The defendants moved to suppress all evidence obtained as a result of the traffic

 stop, asserting that Trooper Bowman did not have probable cause to stop the minivan and

 that the detention was unreasonably long. After a suppression hearing and supplemental

 briefing, the magistrate judge issued the R&R. In the R&R, Magistrate Judge Guyton

 found: (1) the stop itself provides no basis for the suppression of evidence because

 Trooper Bowman had probable cause to stop the minivan for a traffic violation, and (2)

 all evidence obtained from the search of the minivan and any statements of the defendant

 are permissible because the duration and scope of the traffic stop did not violate either

 defendants’ constitutional rights [Doc. 35 p. 4–10]. He accordingly recommends that the

 Court deny the request for suppression [Id. p. 11].

 III.    Analysis

         Only defendant Garcia filed an objection within the statutory period afforded to

 object [Doc. 36]. In large part, the defendant’s objection mostly restates his original

 arguments. He argues: (1) that the magistrate judge incorrectly determined that Trooper

 Bowman had probable cause to believe a traffic violation had occurred, and (2) that

 defendant Garcia was detained longer than reasonably necessary because Trooper

 Bowman should have arrested defendant Torres at the time he learned of the suspended

 license and allowed defendant Garcia to take the vehicle and leave the scene [Doc. 36 p.

 3–6].

         Turning to the issue of probable cause for the traffic stop, Magistrate Judge

 Guyton determined that Trooper Bowman had probable cause to believe the minivan had

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 committed the traffic violation of following too closely, Tenn. Code Ann. § 55-8-124.

 The law provides that “[t]he driver of a motor vehicle shall not follow another vehicle

 more closely than is reasonable and prudent, having due regard for the speed of the

 vehicles and the traffic upon and the condition of the highway.” Tenn. Code. Ann. § 55-

 8-124(a).

        When an officer stops and detains a motorist, there is a “seizure” under the Fourth

 Amendment. United States v. Cochrane, 702 F.3d 334, 340 (6th Cir. 2012). But where

 an “officer has probable cause to believe that a traffic violation has occurred or was

 occurring, the resulting stop is not unlawful and does not violate the Fourth

 Amendment.” United States v. Ferguson, 8 F.3d 385, 391 (6th Cir. 1993). A court

 assesses whether a traffic stop is an unreasonable seizure in violation of the Fourth

 Amendment by objectively evaluating the officer’s conduct in light of the surrounding

 circumstances known to the officer. Id. at 388; see also Whren v. United States, 517 U.S.

 806, 810 (1996) (holding that “[a]s a general matter, the decision to stop an automobile is

 reasonable [within the meaning of the Fourth Amendment] where the police have

 probable cause to believe that a traffic violation has occurred”); United States v.

 Townsend, 305 F.3d 537, 541 (6th Cir. 2002) (holding that “[a] police officer may effect

 a traffic stop of any motorist for any traffic infraction, even if the officer’s true motive is

 to detect more extensive criminal conduct”). Probable cause is “reasonable grounds for

 belief, supported by less than prima facie proof but more than mere suspicion.” United




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 States v. Bennett, 905 F.2d 931, 934 (6th Cir. 1990). In other words, probable cause

 means a substantial chance or likelihood of criminal conduct. Ferguson, 8 F.3d at 392.

        Trooper Bowman testified that the minivan followed twelve to fifteen feet behind

 the tractor trailer at a speed of sixty-two to sixty-five miles per hour. And he testified

 that a driver’s reaction time is typically 1.46 seconds. The trooper further testified that,

 based upon his experience and training, he did not believe the minivan would have been

 able to stop safely at that speed or distance. He thus did not believe that the minivan was

 traveling at a safe distance behind the tractor trailer. Yet, while defendant Garcia does

 not take issue with this testimony, he asserts that the video demonstrates the minivan was

 not following too closely.

        Like the magistrate judge, the Court has reviewed the testimony of the trooper and

 the video of the traffic stop, which the Court finds corroborates the trooper’s testimony.

 At the beginning of the video recording, the minivan is approximately two car lengths

 behind the tractor trailer truck. Two seconds later, the minivan moves closer to the

 tractor trailer, applies the brakes, and travels at a distance of approximately less than one

 car length from the truck. The minivan follows at this distance for approximately ten

 seconds, at which time the minivan’s left turn signal is activated and the minivan begins

 moving into the center lane. Based on this video, the Court finds, like the magistrate

 judge, that Trooper Bowman had probable cause to believe that the minivan was

 following the tractor trailer truck “more closely than [was] reasonable and prudent.”

 Tenn. Code Ann. § 55-8-124(a).

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        Sixth Circuit case law supports this finding. See United States v. Jimenez, 446 F.

 App’x 771, 772 (6th Cir. 2011) (finding that an officer had probable cause to believe

 Tenn. Code Ann. § 55-8-124(a) had been violated where he testified that he saw the

 defendant’s vehicle, traveling at fifty-five miles per hour, come within twenty-four inches

 of the vehicle in front of it);United States v. Sanford, 476 F.3d 391, 395–96 (6th Cir.

 2007) (finding that an officer who observed the defendant’s vehicle momentarily follow

 another vehicle within a distance of ten feet while traveling sixty-five miles per hour and

 while a third vehicle was passing in the passing lane had probable cause to believe Tenn.

 Code Ann. § 55-8-124(a) had been violated); United States v. Valdez, 147 F. A’ppx 591,

 595 (6th Cir. 2005) (finding that an officer who observed a vehicle traveling

 approximately sixty miles per hour pull to within twenty to thirty feet of another vehicle

 for fifteen seconds had probable cause to believe Tenn. Code Ann. § 55-8-124(a) had

 been violated).

        Moreover, the Sixth Circuit case the defendant relies upon most heavily for

 asserting that there was no probable cause here, United States v. Tullock, 578 F. A’ppx

 510 (6th Cir. 2013), is distinguishable. In Tullock, the Sixth Circuit determined an officer

 lacked probable cause to believe the defendant had been following too closely.           In

 reaching this decision, the Sixth Circuit focused on the fact that the officer “recalled few

 objective facts to justify the traffic stop.” 578 F. App’x at 513. More specifically, “[h]e

 could not recall the speed the vehicles were traveling, the amount of distance between

 them, or for how long a period [the defendant] drove too closely to the car in front of

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 them.” Id. That simply is not the case here. The defendant also relies upon Judge

 Merritt’s dissent in United States v. Sanford, but that dissent does not bind this Court, nor

 does it persuade the Court to find against the many cases similar to this one where the

 Sixth Circuit determined an officer had probable cause to believe a violation of Tenn.

 Code Ann. § 55-8-124(a) had occurred.

        Thus, for all of these reasons, the Court agrees with Magistrate Judge Guyton that

 Trooper Bowman had probable cause to stop the minivan for a following too closely

 under Tenn. Code Ann. § 55-8-124(a).

        Turning next to the duration of the traffic stop, the defendant asserts that Trooper

 Bowman had ample time to arrest defendant Torres for driving on a suspended license

 and allow defendant Garcia to drive the minivan away from the scene, which is

 something Trooper Bowman testified commonly happens “if all else is fine” [Doc. 36 p.

 6; Doc. 29 p. 43–44]. The defendant further asserts that Trooper Bowman did not have a

 reasonable and articulable suspicion of criminal activity necessary to detain defendant

 Garcia for the time he was detained.

        A traffic stop is governed by the principles set forth in Terry v. Ohio, 392 U.S. 1,

 18 (1968). “Once the purpose of an ordinary traffic stop is completed, the officer may

 not ‘further detain the vehicle or its occupants unless something that occurred during the

 traffic stop generated the necessary reasonable suspicion to justify a further detention.’”

 United States v. Perez, 440 F.3d 363, 369–370 (6th Cir. 2006) (quoting United States v.

 Mesa, 62 F.3d 159, 162 (6th Cir. 1995)). To meet the standard of reasonableness, a

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 seizure must be “sufficiently limited in scope and duration.” Florida v. Royer, 460 U.S.

 491, 500 (1983).

        There is no bright line rule as to the duration of a seizure in order to determine

 reasonableness. United States v. Everett, 601 F.3d 484, 493 (6th Cir. 2010). “Rather,

 because the touchstone of any Fourth Amendment analysis is reasonableness, [the Court]

 must conduct a fact-bound, context-dependent inquiry in each case.” Id. The evaluation

 of reasonableness is not based solely on the length of detention, but instead “the proper

 inquiry is whether the ‘totality of the circumstances surrounding the stop’ indicates that

 the duration of the stop as a whole—including any prolongation due to suspicionless

 unrelated questioning—was reasonable.” Id. at 494 (emphasis in the original). In this

 inquiry, “the overarching consideration is the officer’s diligence—i.e., his ‘persevering’

 or ‘devoted application to accomplish he undertaking’ of ascertaining whether the

 suspected traffic violation occurred, and, if, necessary, issuing a ticket.” Id. at 494

 (citation omitted). The subject of any “suspicionless unrelated questioning” is relevant to

 ascertaining diligence, and an officer’s inquiries into travel plans, ownership of the

 vehicle, and travel history “will rarely suggest a lack of diligence.” Id.

        The Court agrees with the magistrate judge that the detention here was not

 unreasonable in scope or duration. Trooper Bowman approached a vehicle with an out-

 of-state license plate, two passengers, and a driver with an out-of-state suspended license.

 While he could have arrested defendant Torres upon the discovery of his suspended

 license, it was not unreasonable to request backup at that point. See United States v. Hall,

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No. 1:06CR-62-R, 2008 WL 57083, at *6 (W.D. Ky. Jan. 3, 2008) (“Given that there

were two persons in the vehicle and [the officer] was alone, it was reasonable for [the

officer] to call for assistance, and there is no indication that it took [the responding

officer] any unreasonably large amount of time to arrive at the scene.”); see also Everett,

601 F.3d at 494–95 (noting that “the Supreme Court has emphasized that ‘the safety of

the officer’ during a traffic stop is a ‘legitimate and weighty’ interest” (quoting

Pennsylvania v. Mimms, 434 U.S. 106, 110 (1977))). And the time it took for the back-

up officers to arrive on the scene was not unreasonable. See United States v. Orsolini,

300 F.3d 724, 730 (6th Cir. 2002) (finding detention reasonable where the entire

investigation lasted less than one hour with approximately thirty-five minutes spent

waiting for a canine unit to arrive); United States v. Knox, 839 F.2d 285, 290–91 (6th Cir.

1988) (finding a thirty-minute detention was not inherently unreasonable). Further, once

backup arrived, the troopers questioned the defendants separately, inquiring about their

travel plans and histories. The defendants’ statements were inconsistent, so the troopers

asked to search the minivan. Both defendants consented to the search. See United States

v. Smith, 601 F.3d 530, 542 (6th Cir. 2010) (“When Garrett contradicted Williams’s story

as to their destination, that—in addition to the prior evidence—gave [the officer]

reasonable suspicion to extend the stop further and ask for permission to search the

vehicle.”). Based upon these circumstances, the Court agrees with the magistrate judge

that the duration of the time between the stop and the consent to search the vehicle was

within the range of reasonableness. See United States v. Sharpe, 470 U.S. 675, 686

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(1985) (“The Court of Appeals’ decision would effectively establish a per se rule that a

20-minute detention is too long to be justified under the Terry doctrine. Such a result is

clearly and fundamentally at odds with our approach in this area.”).

IV.   Conclusion

      Accordingly, upon a careful and de novo review of the record and the law, the

Court finds that the recommendations contained in the R&R are correct. The defendant’s

objections [Doc. 36] are OVERRULED. The Court ACCEPTS in whole the R&R

[Doc. 35] and incorporates it into this Memorandum Opinion and Order. The Court

GRANTS defendant Adalberto Torres’s Motion to Adopt defendant Jose Medina

Garcia’s Motion to Suppress [Doc. 23], but DENIES defendant Jose Medina Garcia’s

Motion to Suppress [Doc. 22] and defendant Adalberto Torres’s request to grant the

motion to suppress.

      IT IS SO ORDERED.



                                  s/ Thomas A. Varlan
                                  CHIEF UNITED STATES DISTRICT JUDGE




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